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                         UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF NEW YORK

 SILICON VALLEY BANK,
                        Plaintiff,                      2021 Civ. ____
        vs.
                                                        JURY TRIAL DEMANDED
 JES GLOBAL CAPITAL GP III, LLC; and
 ELLIOT S. SMERLING,
                       Defendants.

                                          COMPLAINT

       Plaintiff, by its undersigned attorneys, alleges the following upon knowledge as to its own

acts and upon the investigation of counsel, which investigation included the examination and

analysis of information obtained from public and proprietary sources.

                                     NATURE OF THE ACTION

       1.       This is an action to recover nearly $95 million that was misappropriated from

Plaintiff Silicon Valley Bank (“SVB”) by Defendants through fraud and deceit. On December 1,

2020, Defendant Elliot S. Smerling contacted SVB, holding himself out to be the founder of JES

Global Capital III, L.P. (the “JES Fund”) and Defendant JES Global Capital GP III, LLC (the “JES

GP”), the JES Fund’s general partner. Defendants represented to SVB that the JES Fund was a

legitimate private equity fund, managed by Defendants, that had $500 million in capital

commitments from prominent limited partners, including endowments for New York University

and the University of Miami, and financial institutions such as Bank of New York Mellon, and

that the JES Fund already had invested nearly $100 million in three portfolio companies. These

representations were false. In reliance on these false representations by Defendants, however,

along with forged and falsified documents provided by Defendants, SVB agreed to issue a $150

million line of credit, of which nearly $95 million was immediately drawn down.
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       2.       In particular, during the course of SVB’s standard pre-lending diligence process,

Defendants provided a document they represented to be the JES Fund’s 2019 audited financial

statements (the “Audited Financials”), which included two pages purporting to be an unqualified

audit opinion signed by BDO USA, LLP, a prominent audit firm. The audit opinion was a forgery.

In fact, the JES Fund is not and has never been a BDO client, BDO did not issue any audit opinion

with respect to the JES Fund and the “BDO USA, LLP” ink signature is not authentic.

       3.       In addition to the Audited Financials, Defendants provided to SVB numerous other

financial and business documents, all of which Defendants represented to be true and accurate.

These documents include a roster naming approximately 20 limited partners who purportedly had

committed $500 million in the aggregate to the JES Fund, subscription agreements signed by the

limited partners, bank statements and other financial records. Upon information and belief, all of

these documents were inauthentic, did not provide accurate information or were forged.

       4.       In reliance on these fraudulent documents and other representations made by

Defendants, SVB entered into a Loan and Security Agreement (the “Loan Agreement”) with the

JES Fund and Defendant JES GP, effective February 3, 2021. Under the Loan Agreement, SVB

agreed to extend to the JES Fund a line of credit of up to $150 million, secured by the $500 million

in capital commitments Defendants assured SVB had been made by the limited partners to the JES

Fund. That same day, SVB wired $94,957,322.65, which was drawn down by the JES Fund

pursuant to the Loan Agreement, to Sumitomo Mitsui Bank Corporation (“SMBC”) at the direction

of the JES Fund, purportedly to close out the JES Fund’s prior line of credit with SMBC.

       5.       While conducting post-closing diligence, SVB requested additional information

from Defendants, as permitted under the Loan Agreement. Defendants refused to provide the

requested information, including basic facts such as the name of the individual auditor at BDO




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who provided the unqualified audit opinion concerning the Audited Financials and corporate

governance documents for the JES Fund’s purported investment portfolio companies. Defendants

did not provide this information because it did not exist. The failure by Defendants to provide the

requested information prompted further investigation by SVB, which in turn revealed the forged

and falsified documents and information that Defendants had provided.

       6.       On February 26, 2021, SVB sent Defendants a notice declaring an Event of Default

under the Loan Agreement based on Defendants’ provision of forged and falsified information,

and demanding immediate repayment of the amounts drawn down under the Loan Agreement. As

of this filing, Defendants have not repaid the outstanding principal balance of $79,957,322.65, plus

additional interest, charges, fees and other obligations owing under the Loan Agreement.

       7.       On February 26, 2021, Smerling was arrested in Florida by agents with the Federal

Bureau of Investigation (“FBI”) and charged with violations of federal criminal law. In particular,

Smerling was charged with wire fraud and aggravated identify theft in connection with the SVB

loan in a criminal complaint filed by the United States Attorney for the Southern District of New

York. According to the criminal complaint, Smerling falsified the audit opinion contained within

the Audited Financials, as well as signatures and bank records purporting to reflect commitments

on behalf of at least two limited partners. Subsequent investigation by SVB established that most

or all of the other purported limited partner investors were similarly falsified by Defendants.

       8.       On March 3, 2021, following a detention hearing in the United States District Court

for the Southern District of Florida, Smerling was determined to be a flight risk. Based on findings

by the magistrate judge, including that the evidence against Smerling on these matters was “very

substantial,” Smerling was remanded into custody without bond and, upon information and belief,

has been or will shortly be moved to the Southern District of New York for prosecution.




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       9.       SVB brings this complaint to recover amounts that were fraudulently obtained by

Defendants from SVB, and to obtain any and all other proper and just remedies.

                                     PARTIES AND VENUE

       10.      Plaintiff Silicon Valley Bank is a California corporation with its principal place of

business at 3003 Tasman Drive, Santa Clara, California. SVB also has a substantial office in New

York, with more than 150 employees, including employees who evaluated and approved the line

of credit that was extended to the JES Fund under the Loan Agreement.

       11.      Defendant JES Global Capital GP III, LLC is a Delaware limited liability

corporation with its principal place of business at 4095 State Road 7, L-306, Wellington, Florida

33449. Defendant JES GP is the general partner of JES Global Capital III, LP.

       12.      Defendant Elliot S. Smerling is an individual who, upon information and belief,

resides in Lake Worth, Florida.

       13.      Third party JES Global Capital III, L.P. is a Delaware limited partnership with its

principal place of business at 4095 State Road 7, L-306, Wellington, Florida 33449.

       14.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332, because there is diversity of citizenship between the parties and the amount in controversy

exceeds the sum of $75,000, exclusive of costs and interest.

       15.      The Court has jurisdiction over Defendant JES GP based on its express consent in

the Loan Agreement to jurisdiction and venue in the state and federal courts of New York. The

Court has jurisdiction over Defendant Smerling based on his conduct in connection with the

negotiation and execution of the Loan Agreement, his retention of a New York based attorney to

negotiate the Loan Agreement and related documentation, his use of funds obtained through the

Loan Agreement to pay off debts owed in New York and other conduct alleged herein.




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       16.     Venue in this District is proper because (i) New York was designated as a proper

venue under the Loan Agreement and (ii) under 28 U.S.C. § 1391(b), a substantial part of the

events giving rise to the claims occurred in the Southern District of New York.

                                SUBSTANTIVE ALLEGATIONS

I.     THE LOAN AND SECURITY AGREEMENT

       A.      Smerling’s Approach to SVB and the Pre-Closing Diligence Process

       17.     On December 1, 2020, Smerling, unsolicited, called SVB’s Head of Global Fund

Banking to discuss establishing a line of credit with SVB. Smerling represented that he, through

Defendant JES GP, oversaw and managed the JES Fund. Later that day, Smerling communicated

via email to SVB that the JES Fund was a $500 million fund, with $50 million in capital that had

already been received from its limited partners, and $450 million in additional capital committed

by the limited partners. Smerling also told SVB that the JES Fund had an existing line of credit

with SMBC in New York, on which there was approximately $100 million drawn down, and that

the JES Fund wished to close that line of credit and open a similar line of credit with SVB.

       18.     In response, SVB informed Defendants that SVB would conduct diligence

regarding Smerling’s request for a line of credit for the JES Fund. In connection with this diligence

process, SVB requested audited financials for the JES Fund covering the prior year. SVB also

requested documentation to identify the limited partner investors in the JES Fund and substantiate

the $500 million purported commitment by those investors to the JES Fund, which would

constitute the collateral for the line of credit that the JES Fund sought to establish.

       19.     SVB and Defendants also negotiated a nondisclosure agreement, which was

effective as of December 3, 2020. Defendants retained attorneys located in New York and

affiliated with the law firm Akerman LLP, who negotiated the nondisclosure agreement on behalf

of Defendants and assisted Defendants in obtaining the line of credit from SVB.


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       20.     On December 4, 2020, Defendants, through Smerling, provided SVB with

numerous financial and corporate documents, including the Audited Financials. The second and

third pages of the Audited Financials are titled “Independent Auditor’s Report,” with a date of

April 21, 2020, are on BDO letterhead and (as is typical) are signed with an ink signature that

reads “BDO USA, LLP.” The audit opinion provided to SVB by Defendants states that the

consolidated financial statements present fairly, in all material respects, the financial position of

the JES Fund as of December 31, 2019. The financial statements that follow this two-page audit

opinion represent that the JES Fund had nearly $150 million in assets, including investments in

three portfolio companies, and nearly $100 million in liabilities, including a loan from SMBC.

       21.     Defendants also delivered to SVB, in response to SVB requests, documents that

Defendants provided as evidence of the JES Fund’s limited partner commitments. These included

a “JES GLOBAL CAPITAL III LP CAP TABLE,” printed on “Orangefield⁃columbus” letterhead,

and an exemplar capital call, directed to Sir Michael Kadoorie at the Peninsula Hotel on behalf of

CLP Holdings, Ltd., also printed on “Orangefield⁃columbus” letterhead.

       22.     The Orangefield Group is a financial services company that provides, among other

services, fund administration services to private equity funds.

       23.     The “Orangefield⁃columbus” documents identified as limited partners in the JES

Fund, among other individuals and entities, the following: BBVA Compass Securities; BNY

Mellon Corp.; CLP Holdings Ltd.; Huntsman Gay Partners; Meridian Capital, LLC; the NYU

Endowment; Sun Trust Robinson Humphrey, Inc.; the University of Miami Endowment; Steven

Berrard; and Steven Cohen. These documents also indicated that the limited partners of the JES

Fund had collectively made a total commitment of $500 million to the JES Fund, of which $450

million remained uncalled and available to the JES Fund.




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       24.     SVB made subsequent inquiries of Defendants regarding certain limited partner

commitments, including the full legal names of certain limited partners and the types of accounts

being used to fund the commitments. Defendants provided documents and information in response

to those inquiries. At no time did Defendants inform SVB that the limited partners under

discussion in fact had never made any commitment to make any investment in the JES Fund and,

in fact, had no relationship whatsoever either with the JES Fund or Defendants.

       25.     In the course of its diligence, SVB also requested bank statements evidencing the

receipt of the JES Fund’s initial $50 million capital call from the limited partners. In response,

Defendants provided a document on SMBC letterhead titled “Bank Statements” that listed

numerous wire transfers between December 9 and 11, 2019, totaling $50 million.

       26.     Defendants also provided to SVB a copy of the limited partnership agreement

governing the JES Fund, as well as a copy of the subscription agreement pursuant to which the

limited partners would make capital commitments to the JES Fund. After reviewing these

materials, as part of its diligence process, SVB also obtained signed subscription agreements

purportedly executed on behalf of each of the limited partners in the JES Fund.

       27.     The above documents were reviewed internally by several employees of SVB to

determine whether SVB should extend a line of credit to the JES Fund. Among others, a senior

credit manager of SVB, who works out of SVB’s New York office, reviewed these materials.

       28.     Because the JES Fund was not an existing client of SVB, evidence of its financial

standing was central to SVB’s determination as to whether to extend a line of credit.

       29.     In addition, because the collateral for any line of credit would be the capital

commitments made by the limited partners of the JES Fund, evidence substantiating the existence




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of the limited partners and confirming their commitment to provide $500 million in capital to the

JES Fund was central to SVB’s determination as to whether to extend a line of credit.

       30.      Without evidence of the JES Fund’s financial standing and limited partner

commitments, SVB would not have entered into the Loan Agreement with the JES Fund.

       31.      In reliance upon the documents described in paragraphs 20 to 30, among other

materials, SVB entered into a term sheet regarding a line of credit with the JES Fund and Defendant

JES GP on December 18, 2020. The term sheet was signed by Defendant Smerling.

       32.      In reliance upon the documents described in paragraphs 20 to 30, among other

materials, SVB entered into the Loan Agreement with the JES Fund and Defendant JES GP as of

February 3, 2020. (Ex. A, Sch. I, at 2.) The Loan Agreement was signed on February 3, 2020 by

Defendant Smerling on behalf of both the JES Fund and Defendant JES GP. (Ex. A, at 31.)

       B.       The Loan Agreement

       33.      Under the Loan Agreement, SVB agreed to extend to the JES Fund, as the borrower,

a line of credit up to $150 million. (Ex. A, Sch. I, at 1.) In exchange, the JES Fund and Defendant

JES GP granted SVB a continuing security interest in the limited partner capital commitments to

the JES Fund, including the right to make capital calls. (Ex. A, at ¶ 3.1, pg. 24 & Ex. A.)

       34.      Among the conditions precedent in the Loan Agreement for an extension of credit

by SVB are the delivery to SVB of bank statements evidencing the JES Fund’s receipt of capital

contributions from a recent capital call and the subscription agreements between the JES Fund and

its limited partners, including signatures. (Ex. A, at ¶¶ 2.1(d) & (j).) Also among the conditions

precedent in the Loan Agreement for an extension of credit by SVB are that all representations

and warranties in the Loan Agreement are true and accurate at the time. (Ex. A, at ¶ 2.2(b).)

       35.      In connection with the Loan Agreement, and as a condition precedent for the

extension of any credit, the JES Fund and Defendant JES GP represented and warranted that:


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             a. the signature pages on each limited partner subscription agreement
                accurately described the limited partner’s capital commitment to the
                JES Fund (Ex. A, at ¶ 4.2);

             b. the financial statements provided by Defendants fairly present in all
                material respects the JES Fund’s financial condition (Ex. A, at ¶ 4.5);

             c. the fair value of the JES Fund’s assets exceeds the fair value of the JES
                Fund’s liabilities (Ex. A, at ¶ 4.6);

             d. the partnership and subscription agreements between the JES Fund and
                the limited partners are in full force and effect and in substantially the
                same form as documentation delivered to SVB (Ex. A, at ¶ 4.12); and

             e. Defendants made no written factual representation, warranty or other
                statement to SVB that contained any untrue statement of material fact
                or omitted any material fact. (Ex. A, at ¶ 4.14.)

       36.      Under the Loan Agreement, the JES Fund and Defendant JES GP undertook to

provide audited financial statements for the JES Fund together with an unqualified audit opinion

(Ex. A, at ¶ 5.3(c)), other information reasonably requested by SVB (Ex. A, at ¶ 5.3(n)) and further

assurances as deemed necessary by SVB to protect its interest. (Ex. A, at ¶ 5.8.)

       37.      The Loan Agreement further provided that a breach by the JES Fund or Defendant

JES GP of the obligation to provide audited financial statements and unqualified audit opinions,

or other information reasonably requested, is a covenant default and thus an Event of Default under

the Loan Agreement. (Ex. A, at ¶ 7.2(a).) The Loan Agreement further provided that if any writing

provided to SVB is incorrect in any material respect when provided by the JES Fund, Defendant

JES GP or any person acting for either entity, it is an Event of Default. (Ex. A, at ¶ 7.10.)

       38.      If an Event of Default has occurred and is continuing, the Loan Agreement provides

that SVB may exercise certain enumerated rights and remedies, including suspension or

termination of the line of credit and the right to declare all principal and interest extended or owed

under the line of credit immediately due and payable. (Ex. A, at ¶ 8.1.)




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       39.     The Loan Agreement is governed by New York law without regard to conflicts of

law and provides that all parties consent to the exclusive jurisdiction of, and venue in, the state and

federal courts in the Borough of Manhattan in New York City. (Ex. A, at ¶ 10.)

       40.     Following execution of the Loan Agreement, on February 3, 2021, pursuant to

instructions from the JES Fund, SVB wired $94,957,322.65 to an account at SMBC in New York

that SVB was told by Defendants was associated with the JES Fund.

II.    POST-CLOSING DILIGENCE

       A.      Requests for Information from Defendants

       41.     Following the February 3, 2021 closing of the Loan Agreement and SVB’s wiring

of $94,957,322.65 to the SMBC account in New York, SVB’s post-closing due diligence team

determined that additional information should be requested from Defendants.

       42.     To that end, on February 17, 2021, SVB contacted a representative of the JES Fund

to request contact information for representatives at BDO, which Defendants had previously

represented was the auditor of the JES Fund, and the Orangefield Group, which Defendants had

previously represented was the fund administrator for the JES Fund. In response, Defendants told

SVB that the JES Fund and Defendant JES GP were negotiating new agreements with BDO to act

as both the JES Fund’s auditor and its fund administrator, and that an engagement partner for the

JES Fund and Defendant JES GP had not yet been assigned by BDO.

       43.     Two days later, on February 19, 2021, Smerling wrote to SVB to demand an

explanation for why SVB was requesting information post-closing. In particular, Smerling stated

that he was “extremely concerned regarding the manner in which we are being treated” and was

“flummoxed” by SVB’s inquiries. Smerling demanded that SVB share any questions for BDO or

the JES Fund’s attorneys in writing prior to any further inquiries.




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       44.     Following Smerling’s February 19 response, SVB requested that Defendants attend

a video conference on Monday, February 22, 2021 to address SVB’s requests for information. In

advance of that meeting, SVB requested that Defendants provide the following information: (i)

diligence materials and basic corporate documents for the JES Fund’s three portfolio companies;

(ii) additional supporting documentation regarding the JES Fund’s limited partners, including

contact information; and (iii) the name of the partner at BDO responsible for the Audited

Financials that were provided by Defendants to SVB during the original diligence process.

       45.     Neither Smerling nor any employee of the JES Fund or Defendant JES GP attended

the February 22, 2021 videoconference. Instead, two attorneys with Akerman LLP, including an

attorney who is identified on the firm’s website as working in the firm’s New York office, attended

the videoconference. The information SVB had requested was not provided during the call.

       B.      Discussions with BDO

       46.     Concurrent with SVB’s inquiries of Defendants, SVB also directly communicated

with representatives of the legal department at BDO to inquire about the audit opinion that

Defendants had provided as part of the Audited Financials to SVB during diligence.

       47.     A representative of BDO’s legal department informed SVB that BDO did not have

any record of the JES Fund being a client of BDO.

       48.     Based on the information available from BDO, the Audited Financials provided by

Defendants to SVB are not authentic, and Defendants’ use of BDO letterhead was unauthorized.

III.   SUBSEQUENT NEGOTIATIONS, DEFAULT & NONPAYMENT

       49.     Following the February 22, 2021 videoconference, Defendants, through Akerman

LLP, offered to amend the Loan Agreement with SVB to require the JES Fund to pay $15 million

of the outstanding balance to SVB within seven days, and the remaining balance by May 1, 2021.

On February 25, 2021, the parties to the Loan Agreement executed an amendment requiring that


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the JES Fund pay $15 million to SVB no later 12:00pm PST that day, with the remaining balance

due by April 30, 2021. On February 25, 2021, SVB received $15 million from a JES Fund account

at Pacific Western Bank, in partial satisfaction of the outstanding balance.

       50.     On February 26, 2021, SVB delivered a notice of an Event of Default to the JES

Fund and Defendants based upon the inauthentic or forged documents delivered by Defendants to

SVB (Ex. B), including the Audited Financials and limited partner documentation. As permitted

under the Loan Agreement, the notice declared that the outstanding balance, interest, charges, fees

and other obligations owing under the Loan Agreement were immediately due and payable.

       51.     As of this filing, Defendants have not repaid the outstanding balance under the Loan

Agreement, which amounts to $79,957,322.65, plus additional interest, charges, fees and other

obligations owing under the Loan Agreement. Also as of this filing, Defendants have not provided

the additional information requested by SVB.

IV.    RELATED CRIMINAL PROCEEDINGS

       52.     On February 26, 2021, Smerling was arrested by FBI agents in Florida and charged

with federal crimes as set forth in a criminal complaint filed by the United States Attorney for the

Southern District of New York. The complaint charges Smerling with wire fraud under 18 U.S.C.

§§ 2 & 1343, and aggravated identity theft under 18 U.S.C. §§ 2, 1028A(a)(1) & 1028A(b).

       53.     According to the criminal complaint, BDO told the FBI that: the audit opinion

contained in the Audited Financials was not prepared by BDO; the letterhead uses an address at

which BDO has not operated for several years; the language and style of the opinion are not

consistent with the language and style of current BDO opinions; and to date, BDO has found no

indication that Smerling, the JES Fund or Defendant JES GP are or were ever clients of BDO.

       54.     According to the criminal complaint, the chief investment officer of an endowment

fund in New York (believed to be the NYU Endowment Fund, which is a limited partner identified


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on documents provided by Defendants to SVB) told the FBI that: the officer has no knowledge of

Smerling, the JES Fund or Defendant JES GP; the signature appearing on the signed subscription

agreement naming the fund is not the officer’s signature; and to date, the endowment fund has

found no indication that it wired any money or made any commitment to the JES Fund.

       55.     According to the criminal complaint, representatives of an investment manager

based in New York that is a limited partner identified on documents provided by Defendants to

SVB told the FBI that: the signature of the chief executive officer of the investment manager

appearing on the signed subscription agreement naming the investment manager is highly unlikely

to be legitimate; and to date, the investment manager has found no indication that the investment

manager wired any money or made any commitment to the JES Fund.

       56.     On March 3, 2021, a detention hearing for Smerling was held before the United

States District Court for the Southern District of Florida. At that hearing, Smerling consented to

transfer to the Southern District of New York for trial. Also at that hearing, attorneys with the

U.S. Department of Justice argued that Smerling is a flight risk based on his substantial wealth,

prior international travel, marriage to a Brazilian citizen, maintenance of a home in Brazil and the

nearly $80 million owed to SVB that remains unaccounted for. At the conclusion of the hearing,

Magistrate Judge William Matthewman remanded Smerling into custody without bond.

       57.     On March 4, 2021, Judge Matthewman issued a Pretrial Detention Order (Ex. C) in

which he found a serious risk of flight or nonappearance if Smerling is released from federal

custody, and that no condition or combination of conditions would reasonably assure Smerling’s

appearance. (Ex. C, at 1.) Judge Matthewman further wrote that the “weight of the evidence

against Defendant is very substantial,” and that Smerling’s conduct “involves a large-scale




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financial fraud” in which he “impersonat[ed] various offices of a university endowment fund and

an investment fund and forg[ed] several documents.” (Ex. C, at 2–3.)

       58.     Based on the foregoing, and upon information and belief:

               a. the BDO audit opinion appearing within the Audited Financials
                  delivered by Defendants to SVB is a forgery;

               b. the limited partner roster and examplar capital call letter, printed on
                  “Orangefield⁃columbus” letterhead and provided by Defendants to
                  SVB, are not authentic documents;

               c. the executed subscription agreements provided by Defendants are
                  not authentic documents;

               d. the JES Fund did not receive $50 million in capital from the
                  purported limited partners, and the bank statements printed on
                  SMBC letterhead purporting to show receipt are not authentic
                  documents; and

               e. the JES Fund has not made investments in the three portfolio
                  companies identified in the Audited Financials that were provided
                  by Defendants to SVB.

       59.     In sum, documents and information provided by Defendants to SVB in connection

with the loan application and the Loan Agreement were fraudulent.

                                            CLAIMS

                            COUNT I: BREACH OF CONTRACT
                                       (JES GP)

       60.     Plaintiff repeats and realleges each allegation in paragraphs 1 through 59 set forth

above, as though fully set forth herein.

       61.     Defendant JES GP provided information and documents to SVB that were false in

material respects in an effort to induce SVB to enter into the Loan Agreement. Upon learning of

Defendants’ misrepresentations, SVB appropriately (i) declared an Event of Default under

paragraph 7.10 of the Loan Agreement, (ii) terminated the line of credit extended to the JES Fund




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under paragraph 8.1 of the Loan Agreement and (iii) demanded immediate repayment of all

amounts due thereunder under the same.

       62.     The ongoing failure of Defendant JES GP to pay, or cause the JES Fund to pay, to

SVB all amounts owed following the declaration of an event of default, including the outstanding

principal balance of $79,957,322.65, constitutes a material breach of the Loan Agreement.

                         COUNT II: FRAUDULENT INDUCEMENT
                                    (All Defendants)

       63.     Plaintiff repeats and realleges each allegation in paragraphs 1 through 59 set forth

above, as though fully set forth herein.

       64.     Defendants, intending to induce SVB to enter into the Loan Agreement and extend

a $150 million line of credit to the JES Fund, knowingly made false representations and statements

to Defendants, and knowingly provided inauthentic and forged documentation.

       65.     In entering into the Loan Agreement, SVB relied upon the representations and

statements made by Defendants, including statements that the JES Fund was a legitimate private

equity fund, that the audit opinion issued in connection with the Audited Financials was genuine

and that the JES Fund had $500 million in capital commitments from limited partners. SVB also

relied upon documents and information provided by Defendants to SVB, including the Audited

Financials, the identification of purported limited partner investors in the JES Fund, the signed

subscription agreements, the exemplar capital call letter and financial data on the portfolio

companies of the JES Fund. SVB would not have entered into the Loan Agreement had SVB

known that the above information was false and the above documentation was not authentic.

       66.     SVB was damaged by Defendants’ false statements and delivery of inauthentic

documents, including but not limited to damages associated with SVB’s wiring of $94,957,322.65

to a SMBC account in New York, of which $79,957,322.65 has never been repaid to SVB.



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                                  COUNT III: CONVERSION
                                      (All Defendants)

       67.     Plaintiff repeats and realleges each allegation in paragraph 1 through 59 set forth

above, as though fully set forth herein.

       68.     Defendants, intending to induce SVB to open a line of credit and pay approximately

$95 million that was in the rightful possession of SVB, knowingly made false representations and

statements to SVB, and knowingly provided inauthentic and forged documentation to SVB.

       69.     As a result of Defendants’ false statements and delivery of inauthentic documents,

SVB was deprived by Defendants of SVB’s rightful possession of $94,957,322.65, of which

$79,957,322.65 remains in the possession, custody or control of Defendants.

                            COUNT IV: UNJUST ENRICHMENT
                                    (All Defendants)

       70.     Plaintiff repeats and realleges each allegation in paragraphs 1 through 59 set forth

above, as though fully set forth herein.

       71.     Defendants were enriched by SVB’s wiring of $94,957,322.65, either because

Defendants benefitted from the elimination of obligations to SMBC, a third party, or because

Defendants obtained possession of $94,957,322.65.         Following the $15 million payment,

Defendants remain enriched by $79,957,322.65 at the expense of SVB.

       72.     Defendants’ enrichment resulted from Defendants knowingly making false

representations and statements to SVB, and Defendants knowingly delivering inauthentic and

forged documentation to SVB. It is contrary to equity and good conscience for Defendants to

retain the $79,957,322.65 that was obtained from SVB through fraud, deceit and forgery.




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                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiff seeks an order:

      a) declaring and finding that Defendant JES GP breached the terms of the Loan
         Agreement, including Sections 7.10 and 8.1;

      b) awarding Plaintiff all available damages, including disgorgement and
         interest, for Defendants’ breaches of contract and tortious conduct;

      c) awarding Plaintiff the costs, expenses and disbursements of this action,
         including attorneys’ and experts’ fees; and

      d) awarding Plaintiff such other and further relief as this Court may deem just,
         equitable and proper.

                                  JURY TRIAL DEMAND

             Plaintiff hereby demands a jury trial.

Dated: March 24, 2021

                                            By:    /s/ Lorin L. Reisner
                                                   Lorin L. Reisner
                                                   Allan J. Arffa
                                                   Susanna M. Buergel
                                                   Christopher L. Filburn
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